                                               Case 22-51030-JPS                  Doc 27 Filed  FORM 1
                                                                                                  04/19/23  Entered 04/19/23 21:03:51                                        Desc Page No:
                                                                                                                                                                                              1
                                                                            INDIVIDUAL ESTATE PROPERTY
                                                                                                Page 1 RECORD
                                                                                                       of 1 AND REPORT
                                                                                             ASSET CASES

Case No.:                         22-51030                                                                                                                Trustee Name:                        Walter W. Kelley
Case Name:                        BLIZZARD, CHARLES MICHAEL                                                                                               Date Filed (f) or Converted (c):     09/07/2022 (f)
For the Period Ending:            03/31/2023                                                                                                              §341(a) Meeting Date:                10/03/2022
                                                                                                                                                          Claims Bar Date:
                                     1                                                 2                               3                            4                        5                                     6

                         Asset Description                                        Petition/                  Estimated Net Value                 Property              Sales/Funds           Asset Fully Administered (FA)/
                          (Scheduled and                                        Unscheduled                 (Value Determined by                 Abandoned             Received by           Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                     Value                           Trustee,                OA =§ 554(a) abandon.        the Estate
                                                                                                           Less Liens, Exemptions,
                                                                                                              and Other Costs)

Ref. #
1        Electronics                                                                    $500.00                                   $0.00                                           $0.00                                        FA
2        12 gauge shotgun & pistol                                                      $200.00                                   $0.00                                           $0.00                                        FA
3        Clothes                                                                        $200.00                                   $0.00                                           $0.00                                        FA
4        Jewelry                                                                        $200.00                                   $0.00                                           $0.00                                        FA
5        Puppy                                                                        Unknown                                     $0.00                                           $0.00                                        FA
6        Funds in wife's bank account                                                 $4,000.00                                   $0.00                                           $0.00                                        FA
7        Checking Account Midsouth Community                                            $242.00                                   $0.00                                           $0.00                                        FA
         Federal Credit Union
8        Savings Account Midsouth Community Federal                                        $47.00                                 $0.00                                           $0.00                                        FA
         Credit Union
9        Right to receive monthly social security benefits                            $1,950.00                                   $0.00                                           $0.00                                        FA
10       Term life policy with Primerica spou                                         Unknown                                     $0.00                                           $0.00                                        FA
11       Long term care pollicy with Bankers Life                                     Unknown                                     $0.00                                           $0.00                                        FA
12       Transfer to wife: 98 Cotswold Dr., Forsyth, GA               (u)                   $0.00                           $10,000.00                                            $0.00                                $10,000.00


TOTALS (Excluding unknown value)                                                                                                                                                                  Gross Value of Remaining Assets
                                                                                     $7,339.00                               $10,000.00                                           $0.00                                $10,000.00



Major Activities affecting case closing:
 03/15/2023        Auctioneer has been employed to determine value of real estate.
 01/24/2023        MMan to inspect lot.
 10/11/2022        See Deed of Gift from debtor to wife recorded 5/15/2020 with -0- transfer tax paid. See attached qpublic information.
                   Determine if any value to the property transferred.


Initial Projected Date Of Final Report (TFR):                10/09/2024                          Current Projected Date Of Final Report (TFR):          10/09/2024               /s/ WALTER W. KELLEY
                                                                                                                                                                                 WALTER W. KELLEY
